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                  IN THE UNITED STATES BANKRUPTCY COURT

                    IN AND FOR THE DISTRICT OF DELAWARE


American Home Mortgage Holdings,                      ) Case No. 07-11047 CSS
      Inc., et al.,                                   ) Chapter 11
                         Debtors,                     ) Jointly Administered
                                                      ) Ref. No.


         ORDER GRANTING RELIEF FROM AUTOMATIC STAY AS TO
             1051 ROCK SPRINGS ROAD, ESCONDIDO, CA 92026

        AND CONSIDERATION of the Motion for Relief from the Automatic Stay Under

Section 362 of the Bankruptcy Code with respect to Real Property Located at 1051 Rock

Springs Road, Escondido, CA 92026 (the “Motion”) filed by CitiMortgage, Inc.

(“Movant”); the Court having determined that (A) the Court has jurisdiction over the Motion

pursuant to 28 U.S.C. §§157 and 1334; (B) this is a core proceeding pursuant to 28 U.S. C.

§157(b)(2); (C) venue is proper pursuant to 28 U.S.C. §1409(a); and (D) service to the

limited parties stated on the Certificate of Service is adequate under the circumstances; and

the Court having further determined that cause exists to grant Movant relief from the

automatic stay with respect to Movant’s exercise of any rights and remedies against the real

property located at 1051 Rock Springs Road, Escondido, CA 92026 (the “Property”) under

applicable non-bankruptcy law; it is hereby

        ORDERED, that the Motion be, and the same is hereby GRANTED.                     All

capitalized terms not otherwise defined herein shall have the respective meanings set forth

in the Motion; and it is further

        ORDERED, that pursuant to 11 U.S.C. §362(d), to the extent the automatic stay is

otherwise applicable, Movant is hereby granted relief from the automatic stay, and the
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automatic stay is modified solely with respect to Movant’s interest in the Property. Movant

is hereby permitted to exercise its contractual rights as to the Borrower and its rights under

applicable non-bankruptcy law against the Property, including but not limited to foreclosure

of the Mortgage, Sheriff’s Sale or Trustee’s sale of the Property and all other legal remedies

against the Property which may be available to CitiMortgage, Inc., under State law; and it is

further

          ORDERED that nothing in this order (i) shall constitute a determination that the

Debtors hold any interest in the Property or (ii) shall estop the Debtors from denying that

they hold any interest in the Property; and it is further

          ORDERED that this Order is immediately effective and is not stayed by operation

of law, notwithstanding the stay provisions of Fed. R. Bank. P. 4001(a)(3).



                                           ___________________________________
                                                            J.
